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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                                             Case No.:
  BERNARD FERNANDO TATEM
                                        Plaintiff,
  vs.

  The City of Hollywood; The Hollywood Police
  Department; Jennifer Garcia (official and personal
  capacity as a police officer for the Hollywood Police
  Department); and Kyle Karl (official and personal
  capacity as a police officer for the Hollywood Police
  Department)
                                             Defendant

                                                         /


                                            COMPLAINT

  COMES NOW, Plaintiff, BERNARD FERNANDO TATEM, herein files this Complaint against the
  City of Hollywood, the Hollywood Police Department, Jennifer Garcia and Kyle Karl and alleges:


                                JURISDICTIONAL STATEMENT

    1.   Pursuant to 28 U.S.C. §1331, this court has original jurisdiction over violations of a Federal

         Statute.

    2.   This primary cause of action is for tortious and statutory damages which were caused by the

         Defendants and that which arose by a violation of the Plaintiff’s civil rights as guaranteed by

         the U.S. Constitution and 42 USC 1983.

    3.   Pursuant to 28 U.S.C. 1367, this court has supplemental jurisdiction over all other claims that

         are so related to claims in the action within such original jurisdiction that they form part of

         the same case or controversy

    4.   This supplemental action is for tortious damages for false arrest and use of excessive use of


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         force which were caused by Defendants in the original act, and are so related to the original

         jurisdiction that they form part of the same case and controversy.



                                               PARTIES

    5.   Plaintiff, BERNARD FERNANDO TATEM, hereafter Mr. Tatem, is an individual who

         resides in North Miami Beach, FL.

    6.   Defendant, The City of Hollywood, is a political subdivision of the State of Florida located in

         Broward County. In this cause, the City of Hollywood acted through its agent, employees and

         servants, including that of its subagent, the Hollywood Police Department and its police

         officers. The principal place of business for the City of Hollywood is 2600 Hollywood

         Boulevard, Hollywood, FL. 33020 in Broward County, Florida.

    7.   Defendant, Jennifer Garcia, in his or her former personal and official capacity as a police

         officer for the City of Hollywood which is located at 3250 Hollywood Blvd, Hollywood, FL.

         33021 in Broward County, Florida.

    8.   Defendant, Kyle Karl, in his or her former official and personal capacity as a police officer

         for the City of Hollywood which is located at 3250 Hollywood Blvd, Hollywood, FL. 33021

         in Broward County, Florida.

                                                 VENUE

    9.   Pursuant to 28 USC 1391, venue is proper in the Southern District of Florida as it is the

         district where at least one of the Defendant’s resides, and further all Defendants are residents

         of Florida, the state in which the district is located.

                                    CONDITIONS PRECEDENT
    10. All conditions precedent to the prosecution of this action have occurred, or have been



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         performed, excused or waived.

    11. Plaintiff forwarded a written notice of his intent to present his claim pursuant to Fla. Stat 786

         to the City of Hollywood, Hollywood Police Department and the Florida Department of

         Financial Services.

                                  FACTS IN SUPPORT OF CLAIMS
    12. On October 24, 2017, Plaintiff, Mr. Tatem, was a customer at the Marathon gas station

         located at 1840 N. Federal Highway, Hollywood, FL., 33020.

    13. On October 24, 2017, Jennifer Garcia and Karl Kyle were Officers of the City of Hollywood

         and were acting under color of authority of the Hollywood Police Department and the City of

         Hollywood.

    14. While Mr. Tatem was shopping, Jennifer Garcia and Kyle Karl entered said gas station and

         confronted him about a car accident that had nothing to do with him.

    15. After continued interrogation by the Defendants Jennifer Garcia and Kyle Karl, Mr. Tatem

         chose not to answer any further questions.

    16. When asked to identify himself, Mr. Tatem did so willingly and again denied any

         involvement in an accident that was not related to him. He thereafter further requested and

         attempted to leave.

    17. The Defendants, Jennifer Garcia and Kyle Karl, denied Mr. Tatem the ability to leave and

         instead decided to arrest him.

    18. The arrest of Mr. Tatem was unlawful and lacked probable cause. Mr. Tatem was entirely

         compliant with the Officers commands and at no time did he resist or exert any force against

         the officers.




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    19. While Mr. Tatem was in hand cuffs, the Defendants Jennifer Garcia and Kyle Karl imposed a

         ferocious beating on Mr. Tatem’s person. The Defendants knocked, punched and assaulted

         Mr. Tatem’s person to the effect that he suffered several lacerations and needed medical

         attention to his face, head, shoulder and neck.

    20. Following the arrest, Mr. Tatem was taken to the hospital for treatment and then taken to the

         Broward County Jail. He stayed in jail for two days until he was able to post bond.

    21. Mr. Tatem maintained his innocence and took the matter to trial where he was found not

         guilty of all charges against him.

    22. As a result of the unlawful acts of the Defendants, Jennifer Garcia and Kyle Karl, Mr. Tatem

         suffered non-economic and economic damages which includes but is not limited to physical

         harm, pain and suffering, mental anguish, humiliation, shame, disgrace, fright, and injury to

         his reputation as a member of the general public, loss of earnings and loss of time. These

         injuries amount to over $200,000 in damages, which he is currently seeking.



                            COUNT I – 42 U.S. Code Section 1983 (False Arrest)

                    AGAINST JENNIFER GARCIA AND KYLE KARL, personally

    23. Plaintiff hereby incorporates by reference the allegations set forth in paragraphs 1 - 22 above

         as it is fully set forth herein at length.

    24. 42 USC Section 1983 makes it unlawful for anyone acting under the authority of state law to

         deprive another person of his or her rights under the Constitution or federal law.

    25. On October 24, 2017, Jennifer Garcia and Karl Kyle were Officers of the City of Hollywood

         and were acting under color of authority of the Hollywood Police Department and the City of

         Hollywood.



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    26. On or about October 24, 2017, Mr. Tatem was the subject of a warrantless arrest without

         probable cause, wherein his federal right to be free from unreasonable search and seizure was

         deprived.

    27. Defendants Jennifer Garcia and Kyle Karl unreasonably deprived Mr. Tatem of his

         constitutional right to be free from unreasonable search and seizure as set forth in the Fourth

         amendment, and applicable to the states under the Fourteenth amendment of the United

         States constitution.

    28. It is clearly established and a fundamental right to be free from unreasonable seizure,

         especially when there is no proof of a crime being committed and no probable cause to arrest.

    29. On or about October 24, 2017, Mr. Tatem was restrained against his liberty and deprived of

         his liberty and freedom to leave.

    30. Mr. Tatem was deprived of his liberty and the right to be free from unlawful and

         unreasonable restraint, as Jennifer Garcia nor Kyle Karl had probable cause to arrest Mr.

         Tatem.

    31. As a direct and proximate result of Defendants Jennifer Garcia and Kyle Karl’s actions in

         violation of 42 U.S.C. Section 1983, Mr. Tatem suffers and continues to suffer damages

         which include: physical harm, medical expenses for past, continued and future treatment,

         mental anguish and emotional suffering, embarrassment, humiliation and accumulating

         legal costs and fees.

    32. As a result of the Defendant’s actions, Mr. Tatem demands damages in the amount of

         $200,000 from each defendant.




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                  COUNT II – 42 U.S. Code Section 1983 (Battery – Excessive Force)

                    AGAINST JENNIFER GARCIA AND KYLE KARL, personally

    33. Plaintiff hereby incorporates by reference the allegations set forth in paragraphs 1-22

         above as fully set forth herein at length.

    34. 42 USC Section 1983 makes it unlawful for anyone acting under the authority of state law to

         deprive another person of his or her rights under the Constitution or federal law.

    35. On October 24, 2017, Jennifer Garcia and Karl Kyle were Officers of the City of Hollywood

         and were acting under color of authority of the Hollywood Police Department and the City of

         Hollywood.

    36. On October 24, 2017, Defendants, Jennifer Garcia and Kyle Karl did intentionally and

         unlawfully touch Mr. Tatem by deliberately and forcefully placing Mr. Tatem under

         arrest, without probable cause and thereafter imposing a ferocious beating on Mr.

         Tatem’s person.

    37. The Defendants Jennifer Garcia and Kyle Karl knocked, punched and assaulted Mr. Tatem’s

         person to the effect that he suffered several lacerations and needed medical attention to his

         face, head, shoulder and neck.

    38. The actions of the Defendants, Jennifer Garcia and Kyle Karl did result in physical injury,

         pain and harm to Mr. Tatem.

    39. Mr. Tatem did not consent to the Defendants, Jennifer Garcia and Kyle Karl’s excessive

         use of force. Such use of force was neither justifiable nor excusable.

    40. The conduct of Defendant Jennifer Garcia and Kyle Karl towards Mr. Tatem was

         objectively unreasonable and constituted an unnecessarily excessive use of force against

         Mr. Tatem’s person.



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    41. The conduct of Defendants Jennifer Garcia and Kyle Karl against Mr. Tatem was in

         violation of his constitutional rights under the 4th and 14th Amendments of the United

         States Constitutioin; 42 U.S.C. Section 1983.

    42. As a direct and proximate result of Defendants Jennifer Garcia and Kyle Karl’s actions in

         violation of 42 U.S.C. Section 1983, Mr. Tatem suffers and continues to suffer damages

         which include: physical harm, medical expenses for past, continued and future treatment,

         mental anguish and emotional suffering, embarrassment, humiliation and accumulating

         legal costs and fees, all a result of the violation of Mr. Tatem’s civil rights.

    43. As a result of the Defendant’s actions, Mr. Tatem demands damages in the amount of

         $200,000 from each defendant.



                                       COUNT III – FALSE ARREST

                                   AGAINST CITY OF HOLLYWOOD

    44. Plaintiff hereby incorporates by reference the allegations set forth in paragraphs 1-22

         above as fully set forth herein at length.

    45. On October 24, 2017, Jennifer Garcia and Karl Kyle were Officers of the City of Hollywood

         and were acting under color of authority of the Hollywood Police Department and the City of

         Hollywood.

    46. On October 24, 2017, Jennifer Garcia and Karl Kyle did detain and restrain Mr. Tatem

         against his will.

    47. Mr. Tatem did not feel free to leave, and when he requested to leave, his request was denied.




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    48. As a direct and proximate result of the intentional act the Defendants Jennifer Garcia and

         Kyle Karl, Plaintiff, Mr. Tatem, was the subject of a warrantless arrest without probable

         cause and detention against his will.

    49. Mr. Tatem suffered an injury as a result of the aforementioned actions and demands tortious

         damages (economic and non-economic damages) which were caused by the Defendants’

         actions or failure to act.

    50. The City of Hollywood is vicariously liable for the actions of the Hollywood Police

         Department’s Officers, Jennifer Garcia and Kyle Karl and as such the Plaintiff demands

         damages in the amount of $200,000.



                        COUNT IV – BATTERY (EXCESSIVE USE OF FORCE)

                           AGAINST DEFENDANT, CITY OF HOLLYWOOD

    51. Plaintiff hereby incorporates by reference the allegations set forth in paragraphs 1-22

         above as fully set forth herein at length.

    52. On October 24, 2017, Jennifer Garcia and Karl Kyle were Officers of the City of Hollywood

         and were acting under color of authority of the Hollywood Police Department and the City of

         Hollywood.

    53. Defendants, Jennifer Garcia and Kyle Karl did intentionally and unlawfully touch Mr.

         Tatem by deliberately and forcefully placing Mr. Tatem under arrest, without probable

         cause and imposing a ferocious beating on Mr. Tatem’s person.

    54. While Mr. Tatem was in hand cuffs, the Defendants Jennifer Garcia and Kyle Karl imposed a

         ferocious beating on Mr. Tatem’s person. The Defendants knocked, punched and assaulted




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         Mr. Tatem’s person to the effect that he suffered several lacerations and needed medical

         attention to his face, head, shoulder and neck.

    55. The actions of the Defendants, Jennifer Garcia and Kyle Karl did result in physical injury,

         pain and harm to Mr. Tatem.

    56. Mr. Tatem did not consent to the Defendants, Jennifer Garcia and Kyle Karl’s excessive

         use of force. Such use of force was neither justifiable nor excusable.

    57. The conduct of Defendant Jennifer Garcia and Kyle Karl towards Mr. Tatem was

         objectively unreasonable and constituted an unnecessary excessive use of force against

         Mr. Tatem’s person.

    58. The City of Hollywood is vicariously liable for the actions of the Hollywood Police

         Department’s Officers, Jennifer Garcia and Kyle Karl and as such the Plaintiff demands

         damages in the amount of $200,000.

                                   DEMAND FOR JUDGMENT

  WHEREFORE, Plaintiff prays that this Honorable Court enter Judgment:

     A. Plaintiff hereby demands damages as stated in the complaint from each Defendant and from

         each count.

     B. Awarding the Plaintiff reasonable reimbursement for attorney fees, costs, and expenses

         incurred as allowed under 42 USC 1988, and such other statutes that may be applicable;

     C. Awarding all other relief as may be just and appropriate.



  DATED: March 18, 2019

  /s/ Rogell Levers
  Rogell Levers, Esq. (FL Bar 069546)
  Attorney for Plaintiff



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